        Case 4:20-cv-08424-HSG Document 12 Filed 01/05/21 Page 1 of 3



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     AZTECA GOLDEN PARTNERS, INC.
12   dba LA TAPATIA MEXICAN
     RESTAURANT & CANTINA;
13   FRED R. DOSTER 2003 TRUST
14                                 UNITED STATES DISTRICT COURT

15                                NORTHERN DISTRICT OF CALIFORNIA

16

17    JAMES LLEWELLYN,                          CASE NO. 4:20-cv-08424-HSG
                                                Civil Rights
18             Plaintiff,
                                                 STIPULATION AND ORDER OF
19             v.                                DISMISSAL WITH PREJUDICE

20    AZTECA GOLDEN PARTNERS, INC.              Action Filed: November 30, 2020
      dba LA TAPATIA MEXICAN
21    RESTAURANT & CANTINA
      CONCORD; FRED R. DOSTER 2003
22    TRUST,

23             Defendants.

24

25                                            STIPULATION

26           Plaintiff JAMES LLEWELLYN (“Plaintiff”) and Defendants AZTECA GOLDEN

27   PARTNERS, INC. dba LA TAPATIA MEXICAN RESTAURANT & CANTINA CONCORD;

28   FRED R. DOSTER 2003 TRUST (“Defendants”) hereby stipulate and request pursuant to FRCP
                                                 1
     STIP TO DISMISS
     CASE NO. 4:20-cv-08424-HSG
        Case 4:20-cv-08424-HSG Document 12 Filed 01/05/21 Page 2 of 3



 1   Rule 41(a) that the Court order that all of Plaintiff’s claims in this action against Defendant be
 2   dismissed with prejudice.
 3   IT IS SO STIPULATED.
 4   Date: January 4, 2021                                  REIN & CLEFTON
 5

 6                                                             /s/ Aaron M. Clefton
                                                            By AARON M. CLEFTON, Esq.
 7                                                          Attorney for Plaintiff
                                                            JAMES LLEWELLYN
 8

 9
     Date: January 4, 2021                                  VALINOTI, SPECTER & DITO, LLP
10

11
                                                            ____/s/ Kenneth L. Valinoti_
12                                                          By: KENNETH L. VALINOTI, Esq.
                                                            Attorney for Defendants
13                                                          AZTECA GOLDEN PARTNERS, INC. dba
                                                            LA TAPATIA MEXICAN RESTAURANT
14                                                          & CANTINA CONCORD; FRED R.
                                                            DOSTER 2003 TRUST
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16                                       FILER’S ATTESTATION
17           Pursuant to Civil Local Rule 5-1, I hereby attest that on January 4, 2021, I, Aaron M.

18   Clefton, attorney with Rein & Clefton, received the concurrence of Kenneth L. Valinoti, Esq. in

19   the filing of this document.
                                            /s/ Aaron M. Clefton
20                                          AARON M. CLEFTON
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                                                        2
     STIP TO DISMISS
     CASE NO. 4:20-cv-08424-HSG
        Case 4:20-cv-08424-HSG Document 12 Filed 01/05/21 Page 3 of 3



 1                                             ORDER
 2           Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
 3

 4   Dated: 1/5/2021                           __________________________________
                                               Honorable Haywood S. Gilliam, Jr.
 5                                             U.S. District Court Judge

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     STIP TO DISMISS
     CASE NO. 4:20-cv-08424-HSG
